UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK
~ RAYMOND ROSAS,
Plaintiff,
-against-

  

BALTER SALES CO, INC., ARNOLD BALTER,
individually, MARK BALTER, individually, and BA IRY ||

Plaintiff Demands a Trial
ROSENBERG, individually,

By Jury

Defendants.

 

Plaintiff, RAYMOND ROSAS, by his attorneys, the |Arcé Law Grou ,, P.C., upon information

 

and belief, complains of defendants as follows:

NATURE OF THE CASE
1. Plaintiff complains pursuant to 42 U.S.C. Section 1981 and to remedy violations of the laws
of the State of New York and the Administrative Code of the City of New York, based upon

the supplemental jurisdiction of this Court pursuant to Gibb, 38) U S. 715 (1966) and 28

 

U.S.C. §1367, seeking damages to redress the in: uries Plaintiff has suffered as a result of

being harassed and discriminated against by his former employer on the basis of his race,

etaliation for having

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sex/gender together with sexual harassment, assault and battery, and

opposed Defendants’ unlawful employment actions.

 

JURISDICTION AND VENUE
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2. The Court has jurisdiction pursuant to 42 U.S.C. §12101 ot. Seq.; 29 U.S.C. §2617; 28

US.C. §1331, §1343 and supplemental jurisdiction thereto.

 

3. This action involves a Question of Federal Law.

 

 

 

 

 
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Venue is proper in this district based upon the fact that a subst

antial part of the events or

omissions giving rise to the claim occurred within the Southern District of the State of New

York. 28 U.S.C. §1391(b).

PARTIES.

. Plaintiff is a Hispanic male resident of the State of New York,

 

County of Westchester.

At all times material, Defendant BALTER SALES CO. INC (herein also referred to as

“BSC”) was and is a domestic business corporation, duly existing v

of New York.

At all times material, Defendant ARNOLD BALTER (herei
“ARNOLD”) was and is an employee of Defendant BSC.

At all times material, Defendant ARNOLD was and is the Chief E

of Defendant BSC.

At all times material, Defendant MARK BALTER (herein also ref

and is an owner of Defendant BSC.

At all times material, Defendant MARK was and is an employee of

At all times material, Defendant MARK was Plaintiff's supervisd

authority over Plaintiff.

At all times material, Defendant BARRY ROSENBERG (he
“BARRY) was and is an employee of Defendant BSC.

At all times material, Defendant BARRY was Plaintiff's supervis

authority over Plaintiff.

 

 

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kecutive Officer (“CEO”)
erred to as “MARK”) was

Defendant BSC.

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rein also referred to as

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SEXUAL HARASSMENT / GENDER DISCRIMIN

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Defendant BSC, Defendant ARNOLD, Defendant
herein collectively referred to as “Defendants.”

At all times material, Plaintiff was an employee for

MATERIAL FA

Defendants. |

CTS

 

In or around October 2010, Plaintiff began working for Defendants

MARK, and Defendant BARRY are also

as a “Driver.”

At all times material, Defendants employed approximately seven ot eight other “Drivers.”

NATION

Shortly after Plaintiff began working for Defendants, Defendant BARRY would, almost on a

weekly basis, draw a picture of a penis on the back!
Shortly after Plaintiff began working for Defenda
stick his tongue out and try to lick Plaintiff's face.
Shortly after Plaintiff began working for Defenda
try and grab Plaintiff’s buttocks.
Approximately three or four times during Plaintiff
hug Plaintiff.
In or around July 2011, Defendant BARRY asked
to eat after work with Defendant BARRY.

Plaintiff declined Defendant BARRY’s offer.

In or around September 2011, Plaintiff said to

things (penises) on the back of my check, I really don’t like

jokes...stay away from me.”

nts, Defendant |}

rs employment,

 

of Plaintiff's pay check.

nts, Defendant BARRY would repeatedly

BARRY would repeatedly

Defendant BARRY would

Plaintiff if he (Plaintiff) wanted to go out

Defendant BARRY “Stop drawing these

> it” and “stop with the

 
25. A few weeks later, despite Plaintiff's protests, Defendant BARRY:

back of Plaintiffs pay check.
26.In or around the end of September 2011, despite Plaintiffs pro

again stuck his tongue out in a sexually suggestive| manner close to

RACIAL DISCRIMINATION

27. At all times material, all of the non-management “Drivers” were m

again drew a penis on the

tests, Defendant BARRY

Plaintiff's face.

inorities.

28. At all times material, Defendant MARK knew and|knows that Plaintiff is Hispanic.

29. In or around August 2011, Plaintiff complained to Defendant MARK about his (Mark’s)

constant demeaning tone towards him and the other minority wo

rkers. Plaintiff said “You

can’t be talking to us like this. It’s disrespectful, It’s offensive to me.”

30. Defendant MARK responded “What is it with you guys... you must have a Latin attitude.”

31. Defendant MARK also said to Plaintiff “I can’t believe the ways things are going in the

 

recession that you can tell me that you think I am talking offensive,” insinuating that Plaintiff

would have to endure his (Defendant MARK’s) harassment or be
of finding a new job.

32. On or about December 27, 2011, Plaintiff again complained to De
continued harassment stating, “Why are you always so offensive

always so offensive towards me, the Spanish guys, and even the B

RETALIATION
33. On or about January 3, 2012, Defendants terminated Plaintiff's ¢

text that he was stealing boxes.

terminated with little hope

sfendant MARK about his

towards us? Why are you

lack guys?”

mployment under the pre-

 
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On or about January 3, 2012, Defendants terminated Plaintiffs e

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mployment because of his

On or about January 3, 2012, Defendant terminated Plaintiff’s employment because of his

gender/sex.

On or about January 3, 2012, Defendants terminated Plaintiff's employment because he

opposed Defendants’ unlawful behavior.

On or about January 3, 2012, Plaintiff informed Defendant MARK that he would be

obtaining an attorney to pursue a harassment and discrimination claim against Defendants.

On or about January 10, 2012, Plaintiff retained an attorney to help him pursue his claims

against Defendants.

Approximately three days later, Plaintiff informed “Vince,” his
Plaintiff had retained an attorney.

Upon information and belief, Defendants’ management was mad
hired an attorney.
On or about January 17, 2012, in retaliation for Plaintiff hav
Defendants filed a police report alleging that Plaintiff had stolen pr
On or about January 17, 2012, in retaliation for Plaintiff hav,
Plaintiff was given a Desk Appearance Ticket and given a date |
court and be prosecuted on the false charges.

In or around February or March 2012, Plaintiff’s former co-wo
Mark Mungo (both who were still working for Defendants)

Defendants’ employee, Cam Pardo, about Plaintiff’s alleged theft ¢

union representative, that

le aware that Plaintiff had

ing sought legal counsel,
operty from Defendants.
ing sought legal counsel,

where he was to appear in

rkers, William Rivera and
had a conversation with

»f Defendants’ property.

 
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In that conversation, Cam Pardo told Mr. Rivera and Mr. Mungo
any boxes, but rather Plaintiff had mis-delivered Defendants’ box

called “Elmo.”

that Plaintiff did not steal

es/property to a restaurant

Cam Pardo then went on to tell Mr. Rivera and Mr. Mungo that he personally picked up the

mis-delivered merchandise from Elmo and returned it to Defendant

5’ warehouse.

On or about July 24, 2012, the criminal charges against Plaintiff were dismissed.

On or about August 27, 2012 Plaintiff filed his original Complaint with the United States

District, Southern District of New York.

On or about January 3, 2013, Defendants filed their Answer with a Counterclaim against

Plaintiff for conversion in the gross amount of $700.40 for the merchandise Defendants

allege Plaintiff stole.
Defendants filed their counter-claim in retaliation for Plaintiff

complaint.

having filed his original

Defendants field their counterclaim knowing that the alleged “stolen merchandise” had not

been stolen and had been recovered by their own employee.

Defendants field their counterclaim knowing that their counterclain

n lacks/lacked merit.

Defendants field their counterclaim with the specific intent to deter other employees from

exercising their legal rights and/or filing a lawsuit against Defendar

Defendants would not have harassed Plaintiff but for his race.

Defendants would not have harassed Plaintiff but for his gender/sex.

its

Defendants would not have reported Plaintiff to the police or filed a counter-claim but for his

exercising his protected rights.

 
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As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded, victimized,

embarrassed, and emotionally distressed.
As a result of the Defendants' discriminatory and intolerable treatm

severe emotional distress and physical ailments.

ent of Plaintiff, he suffered

As a result of the acts and conduct complained of herein, Plaintiff has suffered and will continue

to suffer the loss of income, the loss of a salary, bonuses, benefi

ts and other compensation

which such employment entails, and Plaintiff has also suffered future pecuniary losses,

emotional pain, suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary

losses.

Defendant ARTHUR, as an owner of Defendant BSC, is individually and personally liable to

Plaintiff for the discrimination under New York State Law.

As Defendants’ conduct has been malicious, willful, outrageous

, and conducted with full

knowledge of the law, Plaintiff demands Punitive Damages as against all the Defendants, jointly

and severally.

AS A FIRST CAUSE OF ACTION
UNDER FEDERAL LAW
42 U.S.C. Section 1981
Plaintiff repeats and realleges each and every paragraph above as i

fully set forth herein at length.

42 U.S.C. Section 1981 states in relevant part as follows:

f said paragraph was more

(a) Statement of equal rights All persons within the jurisdiction of the United States

ory to make and enforce

ull and equal benefit of all
property as is enjoyed by
nt, pains, penalties, taxes,
r. (b) “Make and enforce

shall have the same right in every State and Territ
contracts, to sue, be parties, give evidence, and to the f
laws and proceedings for the security of persons and
white citizens, and shall be subject to like punishme
licenses, and exactions of every kind, and to no othe

 
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contracts” defined For purposes of this section, the |term “make and enforce
contracts” includes the making, performance, modification, and termination of
contracts, and the enjoyment of all benefits, privileges, terms, and conditions of
the contractual relationship. 42 U.S.C.A. § 1981. |

!
Plaintiff, a member of the Hispanic race, was discriminated against because of his race as

provided under 42 U.S.C. Section 1981 and has suffered damages as set forth herein.
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AS A SECOND CAUSE OF ACTION |
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
DISCRIMINATION. !

Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs
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of this Complaint as if more fully set forth herein at length.

The Administrative Code of City of NY § 8-107 [1] provides that "It shall be an unlawful

discriminatory practice: "(a) For an employer or an employee or agent thereof, because of the
actual or perceived race .. . gender. . . of any person, to refuse to hire or employ or to bar or
to discharge from employment such person or to discriminate against such person in

compensation or in terms, conditions or privileges of employment."

 

Defendants engaged in an unlawful discriminatory practice in violation of New York City

Administrative Code Title 8, §8-107(1)(a) by creating and maintaining discriminatory working

conditions, and otherwise discriminating against the Plaintiff because of his gender and race,

together with sexual harassment.

AS A THIRD CAUSE OF ACTION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
RETALIATION

 

Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs
of this Complaint as if more fully set forth herein at length. |
68. New York City Administrative Code Title 8-107(7) provides that:
"It shall be unlawful discriminatory practice for any person engaged in any
activity to which this chapter applies to retaliate or discriminate in any manner
against any person because such person has (i) opposed any) practice forbidden
under this chapter, (ii) filed a complaint, testified or assisted in any proceeding
under this chapter, (iii) commenced a civil action alleging the commission of an
act which would be an unlawful discriminatory practice under|this chapter..."

69. Defendants engaged in an unlawful and retaliatory discriminatory practice by retaliating, and

otherwise discriminating against the Plaintiff, including, but not limited to terminating

Plaintiff's employment, filing a false police report, and filing a meritless counterclaim.

AS A FOURTH CAUSE OF ACTION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
SUPERVISOR LIABILTY

70. Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs
of this Complaint as ifmore fully set forth herein at length.
71. New York City Administrative Code Title 8-107(13) Employer lliability for discriminatory

conduct by employee, agent or independent contractor.

 

(a) An employer shall be liable for an unlawful discriminatory practice based upon the
conduct of an employee or agent which is in violation of any provision of this
section other than subdivisions one and two of this section.

(b) An employer shail be liable for an unlawful discriminatory practice based upon the
conduct of an employee or agent which is in violation of subdivision one or two of

this section only where:

 

(1) the employee or agent exercised managerial or supervisory responsibility; or
(2) the employer knew of the employee's or agent's discriminatory conduct, and
| .

acquiesced in such conduct or failed to take immediate and appropriate corrective
72. Defendants violated the section cited herein as set forth.

73. Plaintiff repeats and realleges each and every allegation made in tl

complaint.

74. New York City Administrative Code Title 8-107(19) Interferenc

shall be an unlawful discriminatory practice for any person to coe

action; an employer shall be deemed to have knowledge

of an employee's or agent's

discriminatory conduct where that conduct was known by another employee or

agent who exercised managerial or supervisory responsibility; or

(3) the employer should have known of the employee
conduct and failed to exercise reasonable diligence to

conduct.

AS A FIFTH CAUSE OF ACTION
UNDER THE NEW YORK CITY ADMINISTRAT
INTERFERENCE WITH PROTECTED RIG

s or agent's discriminatory

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e with protected rights. It

rce, intimidate, threaten, or

interfere with, or attempt to coerce, intimidate, threaten or interfere with, any person in the

exercise or enjoyment of, or on account of his having aided or encouraged any other person

in the exercise or enjoyment of, any right granted or protected pursuant to this section.

75. Defendants violated the section cited herein as set forth.

AS A SIXTH CAUSE OF ACTION
UNDER STATE LAW
DISCRIMINATION

76. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

complaint.

 
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' Executive Law Section 296.

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Executive Law § 296 provides that "1. It shall be an unlawful discriminatory practice: "(a)
For an employer or licensing agency, because of an individual's rave. .. sex... to refuse to
hire or employ or to bar or to discharge from employment such individual or to discriminate
against such individual in compensation or in terms, conditions or privileges of
employment.”
Defendants engaged in an unlawful discriminatory practice by discriminating against the
Plaintiff because of his sex and race, together with sexual harassment,

Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs of

 

AS A SEVENTH CAUSE OF ACTION.
UNDER STATE LAW
RETALIATION

Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this
complaint.
New York State Executive Law §296(7) provides that it shall be an unlawful discriminatory
practice:

"For any person engaged in any activity to which this section applies to retaliate

or discriminate against any person because [s]he has opposed any practices

forbidden under this article."
Defendants engaged in an unlawful discriminatory practice by discharging, retaliating, and
otherwise discriminating against the Plaintiff because of Plaintiff's opposition to the
unlawful employment practices of Plaintiff's employer, including, but not limited to

terminating Plaintiffs employment, filing a false police report, and filing a meritless

counterclaim.
AS AN EIGHTH CAUSE OF ACTION
UNDER STATE LAW
AIDING & ABETTING

83. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this
complaint.
84. New York State Executive Law §296(6) provides that it shall be an unlawful discriminatory
practice:
“For any person to aid, abet, incite, compel, or coerce the doing of any acts forbidden
under this article, or attempt to do so.”
85. Defendants engaged in an unlawful discriminatory practice in violation of New York State
Executive Law §296(6) by aiding, abetting, inciting, compelling and coercing the

discriminatory conduct.

AS A NINTH CAUSE OF ACTION
UNDER STATE LAW
ASSAULT AND BATTERY
AS TO DEFENDANT BARRY ONLY

86. Plaintiff repeats, reiterates and realleges each and every allegation made in the above
paragraphs of this Complaint as if more fully set forth herein at length.

87. That the aforesaid occurrences and resultant injuries to Plaintiff were caused by reason of the
intent, carelessness and recklessness of Defendants, their agents, servants and/or employees,
suddenly and without provocation did physically assault and batter Plaintiff herein and did

cause unwelcomed contact, causing the Plaintiff to sustain damages.
WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

A.

Declaring that the Defendants engaged in unlawful employment practice prohibited by 42
U.S.C. Section 1981, the New York City Administrative Code Title 8, §8-107 et. Seq., the New
York Executive Law, and the New York Common Law; and that the Defendants harassed and
discriminated against Plaintiff on the basis of gender, race, along with sexual harassment,
assault and battery, and retaliation;

Declaring that Defendants assaulted and battered Plaintiff.

Awarding damages to the Plaintiff, retroactive to the date of discharge, for all lost wages and
benefits, past and future, back pay and front pay, resulting from Defendants' unlawful
termination of employment and to otherwise make Plaintiff whole for any losses suffered as a
result of such unlawful employment practice;

Awarding Plaintiff compensatory damages for mental, emotional and physical injury, distress,
pain and suffering and injury to reputation.

Awarding Plaintiff punitive damages;

Awarding Plaintiff attorney's fees, costs, and expenses incurred in the prosecution of the action;
Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

proper to remedy the Defendant's unlawful employment practices.

JURY DEMAND

Plaintiff demands a jury trial on all issues to be tried.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally in

an amount to be determined at the time of trial plus interest, punitive damages, attorneys’ fees,

costs, and disbursements of action; and for such other relief as the Court deems just and proper.
Dated: New York, New York
January 17, 2012

Arcé Law Gro
Atto s fo per

 

aS ket Esq. (ba2671)
vs ne. Street, 35" Floor
New York, New York 10004
(212) 248-0120
